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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN

JACOB MILLNER,

                  Plaintiff,                   Case No. 2:18-cv-11071-DPH-MKM

v.                                              Hon. Denise Page Hood

CAPITAL ONE BANK (USA), N.A.                    Mag. Judge Mona K. Majzoub

                  Defendant.
                                         /

                               ORDER OF DISMISSAL

         Pursuant to the stipulation of the parties and Federal Rule of Civil Procedure

41,

         It is ORDERED that the case is DISMISSED with prejudice and without

costs to any party.


 Dated: 3/8/2019                                    s/Denise Page Hood
                                                    DENISE PAGE HOOD
                                                    Judge, U.S. District Court




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We hereby stipulate to entry of the above
order:

/s/ Erin L. Hoffman                         /s/ Jordan Z. Weiss (with consent)
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